977 F.2d 566
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.Gerard BENOIT, Plaintiff, Appellant,v.William F. WELD, et al., Defendants, Appellees.
    No. 92-1441.
    United States Court of Appeals,First Circuit.
    Oct. 21, 1992.
    
      Appeal From the United States District Court for the District of Massachusetts
      Matthew Cobb for appellant.
      Jon Laramore, Assistant Attorney General, Government Bureau, with whom Scott Harshbarger, Attorney General, was on brief for appellees.
      D.Mass.
      AFFIRMED.
      Before Torruella, Circuit Judge, Brown* and Bownes, Senior Circuit Judges.
      Per Curiam.
    
    
      1
      Upon full review of the record in this case, and having considered the briefs and oral argument of the parties, the decision of the district court is affirmed for substantially the same reasons as are stated in said opinion.  See Benoit v. Weld, et al., No. 91-12314 (D. Mass.  March 5, 1992).
    
    
      2
      Affirmed.
    
    
      
        *
         Of the Fifth Circuit, sitting by designation
      
    
    